AO 245C (Revi 09/ l l)Amended Judgment in a Criminal Case
Sheet l (NOTE: ldentit`y Changes with Asterisks (*))

UNITED STATES DISTRICT COURT

Northem District of Iowa l
UNITED STATES ()F AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE

 

V.
PETER DECOSTER CaS€ Nl.lmber: 0862 3:14CR03024-003
USM Number: 13585-029
Date Of Original Judgment= Aerii 13, 2015 stuart J. human
(Or Date of Last Amended Judgment) D¢f€rldant`S Attomey
Reason for Amendment:
m Correction of Sentence on Remand ( 18 U.S.C. 3742(0(1) and (2)) l:l Modification of Supervision Conditions (18 U.S.C. §§ 3563(¢) or 3583(¢))
g Pursuant to the Order Filed on June Zl, 2017, l:| Moditication of lmposed Tenn of Imprisonment for Extraordinary and
at Docum¢nt No_ 156 Compel|ing Reasons (18 U.S.C. § 3582(¢)(1))
|:l Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a)) |:] Modit'xcation of lmposed Term of lmprisonment for Retroactive Amendment(s)
l:l Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36) w me Semenci“g Guidellnes (18 U'S‘C' § 3582(°)(2))

ll Dire¢¢ Mononco Distri¢rcoun Pursuam I:I 23 U_s.C. § 2255 or
|:| 13 u.s.c. § 3559(¢)(7)

Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
pleaded guilty to count(s) 3 of the lnformation filed on May 21, 2014
[:] pleaded nolo contendere to count(s)
which was accepted by the court.
[:] was found guilty on count(s)
after a plea of not guiltv.

 

 

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§ 331(a) Selling Adulterated Food as a Responsible Corporate Officer August 2010 3
and 333(3)(1)

The defendant is sentenced as provided in pages 2 6 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
|:l The defendant has been found not guilty on count(s)

 

m Count(s) I:| is |:l are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attomey for this district within 30 days of any change ofname, residence,
or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

June 21, 2017

Date of Im$os’_\' on of Judgment n

Signature of Judge

Mark W. Bennett
U.S. District Court Judge
Name and Title of Judg7

to zz/l'i

 

 

 

Date

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AO 245C (Rev. 09/1 1) Amended Judgment in a Criminal Case
Sheet 2 _ imprisonment (NOTE: ldentify Changes with Asterisks (*))

 

Judgment _ Page 2 of 6
DEFENDANT: PETER DECOSTER
CASE NUMBER: 0862 3:14CR03024-003

IMPRISONMENT

§ The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
3 months on Count 3 of the Information.

§ The court makes the following recommendations to the Bureau of Prisons:
That the defendant be designated to FPC Yankton, South Dakota, if commensurate with the defendant’s security and custody
classification needs.

E] The defendant is remanded to the custody of the United States Marshal.
l:l The defendant shall surrender to the United States Marshal for this district:

I:| at l:l a.m. [] p.m. on

[:| as notified by the United States Marshal.

 

g The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

g *after July 20, 2017. lt is ordered that codefendant Austin DeCoster begin service of his term of imprisonment 30
days after the defendant has completed service of his term of imprisonment

)I{ as notified by the United States Marshal.
l:| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

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AO 245C (Rev. 09/1 l) Amended Judgment in a Criminal Case
Sheet 3 _ Supervised Release (NOTE: Identii`y Changes with Asterisks (*))

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DEFENDANT: PETER DECOSTER
CASE NUMBER: 0862 3:14CR03024-003

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : l year on Count 3 of the Information.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the court.

}14 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

m The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
I:l The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

l:l The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

l:l The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If thisjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of thisjudgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;

lO) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
criminal record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm
the defendant’s compliance with such notification requirement

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AO 245C (Rev. 09/1 l) Amended Judgment in a Criminal Case
Sheet 3C - Supervised Release (NOTE: Identif`y Changes with Asterisks (*))

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DEFENDANT: PETER DECOSTER
CASE NUMBER: 0862 3:14CR03024-003

SPECIAL CONDITIONS OF SUPERVISION

The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Of/ice:

1) The defendant must pay any financial penalty that is imposed by this judgment

2) For as long as the defendant owes any lines or restitution ordered as part of the instant offense, the defendant must provide
the United States Probation Office with access to any requested financial information.

3) For as long as the defendant owes any fines or restitution ordered as part of the instant offense, the defendant must not incur
new credit charges or open additional lines of credit without the approval of the United States Probation Office unless the
defendant is in compliance with the installment payment schedule.

Upon a finding of a violation of supervision, l understand the Court may: (l) revoke supervision; (2) extend the term of supervision;
and/or (3) modify the condition of supervision

These conditions have been read to me. l fully understand the conditions and have been provided a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Witness Date

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Sheet 5 - Criminal Monetary Penalties (NOTE: identify Changes with Asterisks (*))
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DEFENDANT: PETER DECOSTER
CASE NUMBER: 0862 3:14CR03024-003

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution

TOTALS s szs(paia) s 100,000(paid) s 83,008.19

[:] The determination of restitution is deferred until . An Amended./udgment in a Criminal Case (AO 245C) will be
entered alter such determination

§ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise

in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee 'I'otal Loss* Restitution Ordered Priorig or Percentage
Restitution is ordered to $83,008.19
be paid pursuant to the

Govemment’s Exhibit
filed on April 13, 2015,
Document No. 114.

TOTALS $ $ 83,008.19

\:| Restitution amount ordered pursuant to plea agreement 8

g The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
[:] the interest requirement is waived for |:\ fine m restitution.

El the interest requirement for the l:l fine [l restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, l 10, IIOA, and ll3A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

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AO 245C (Rev. 09/1 l) Amended ludgrnent in a Criminal Case

 

Sheet 6 _ Schedule of Payments (NOTE: identify Changes with Asterisks (*))
.ludgment _ Page __6_ of 4
DEFENDANT: PETER DECOSTER
CASE NUMBER: 0862 3:14CR03024-003
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A § Lump sum payment of $ 183,033.19 due immediately, balance due

l___l not later than ,or
IE in accordance with [] C, m D, [I E, or IZ Fbelow; or

B l:l Payment to begin immediately (may be combined with l:lC, DD, or [:l F below); or

C l:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) alter the date of thisjudgment; or
D g Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E g Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release H'om

imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F g Special instructions regarding the payment of criminal monetary penalties:

lf not paid in full, the defendant must make payments towards the restitution obligations as a condition of supervision
pursuant to a payment schedule established by the United States Probation Ofiice. For as long as the defendant owes
restitution ordered as part of the instant offense, it must notify the United States Attorney for the Northern District of
iowa within 30 days of any change of mailing or residence address that occurs while any portion of the financial
obligations remains unpaid.

The 525 special assessment was paid on June 3, 2014, receipt #lAN550001209.

A fine payment in the amount of $1 00,000 was made on June 3, 2014, receipt #lAN550001209.

Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Fedeial Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

§ Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
corresponding payee, if appropriate.

The defendant’s restitution obligation shall be joint and several with any restitution obligation imposed in United States v.
Quality Egg, LLC, Case No. CR 14-3024-1, and United States v. Austin DeCos!er, Case No. CR 14-3024-2.

l:l The defendant shall pay the cost of prosecution
l:l The defendant shall pay the following court cost(s):

I:\ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

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